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                                  UNITED STATES DIsTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS


LEQAA KORDIA
                                                      §
                   Petitioner-Plaintiff               §


                      Vv.
                                                      :
                                                      §     Case No.          3:25-cv-01072-L-BT
                                                      §
KRISTI NOEM, et al.                                   §
                                                      §
                  Respondents-Defendants              §


                               ORDER FOR ADMISSION PRO HAC VICE

        The Court has considered the Application for Admission Pro Hac Vice of

 Amal Thabateh


It is ORDERED that:


                 the application is granted. The Clerk of Court shall deposit the admission fee to the
       ||        account of the Non-Appropriated Fund of this Court. It is further ORDERED that, if the
                 Applicant has not already done so, the Applicant must register as an ECF User within 14
                 days. See LR 5.1(f) and LCrR 49.2(g).


                 the application is denied. The Clerk of Court shall return the admission fee to the
                 Applicant.




 5/19/2025                                         Ryy                   —
DATE                                              REBECCA RUTHERFORD
                                                  UNITED STATES MAGISTRATE JUDGE
